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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

JASON BRADLEY THOMAS,                                  )
BOP Prisoner No. 14285-003,                            )
      Movant,                                          )
                                                       ) CIVIL ACTION NO. 1:22-00027-JB-N
v.                                                     )
                                                       )
UNITED STATES OF AMERICA                               ) CRIMINAL NO. 1:15-00082-JB-N-1
     Respondent.                                       )
                                                       )
                                                       )

                                                    ORDER

          After due and proper consideration of the issues raised, and there having been no objections filed

the Report and Recommendation of the Magistrate Judge (Doc. 132) made under 28 U.S.C. § 636(b)(1)(B)–

(C), Federal Rule of Civil Procedure 72(b), and S.D. Ala. GenLR 72(a)(2)(S), and dated March 7, 2024, is

ADOPTED as the opinion of this Court.

          Accordingly, it is ORDERED that Jason Thomas’s Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255 (Doc. 106), dated January 7, 2022, be DISMISSED as moot for the

reasons stated therein.

          Additionally, Thomas is not entitled to a Certificate of Appealability in relation to this final adverse

order, and the Court CERTIFIES any appeal of this order and accompanying judgment would be without

merit and therefore not taken in good faith. Thus, Thomas is not entitled proceed in forma pauperis on

appeal.

          Final judgment shall issue separately in accordance with this order and Fed. R. Civ. P. 58.

          DONE and ORDERED this 2nd day of April, 2024.

                                                     /s/ JEFFREY U. BEAVERSTOCK
                                                     CHIEF UNITED STATES DISTRICT JUDGE
